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                                                                            UNITED STATES DISTRICT COURT
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                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                                     SAN JOSE DIVISION
                                          10
For the Northern District of California




                                               TECHNOLOGY LICENSING COMPANY,                     )    Case No.: 10-CV-03994-LHK
                                          11   INC.,                                             )
    United States District Court




                                                                                                 )    ORDER DENYING WITHOUT
                                          12                          Plaintiff,                 )    PREJUDICE PLAINTIFF’S REQUEST
                                                      v.                                         )    TO VACATE CASE MANAGEMENT
                                          13                                                     )    CONFERENCE
                                               EPSON AMERICA, INC.,                              )
                                          14                                                     )
                                                                      Defendant.                 )
                                          15                                                     )
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                                          17          On December 1, 2010, Plaintiff filed a notice stating that the parties have settled and
                                          18   requesting that the Case Management Conference currently set for January 26, 2010, be taken off
                                          19   calendar. Plaintiff’s request is DENIED without prejudice. Once Plaintiff has filed a notice of
                                          20   dismissal, the Court will vacate the Case Management Conference.
                                          21   IT IS SO ORDERED.
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                                          23   Dated: December 7, 2010                               _________________________________
                                                                                                     LUCY H. KOH
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                                                                                                     United States District Judge
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                                               Case No.: 10-CV-03994-LHK
                                               ORDER DENYING WITHOUT PREJUDICE PLAINTIFF’S REQUEST TO VACATE CASE MANAGEMENT
                                               CONFERENCE
